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The Hon. William Alsup
United States District Court
Northern District of California
450 Golden Gate Avenue
Courtroom 9, 19th Floor
San Francisco, California 94102

Re:    Oracle America, Inc. v. Google, Inc., Case No. 3:10-cv-03561-WHA
       Construction of “Reduced Class File”

Dear Judge Alsup:

        At the April 20 Claim Construction Hearing, the Court requested that the parties
further discuss the construction of "reduced class file" to see if they could resolve the
dispute. I write to report that the parties were unable to agree to a construction.

Respectfully submitted,



Marc David Peters
Counsel for Plaintiff Oracle America, Inc.

cc:    Counsel for Google Inc.




pa-1460774
